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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


THERESA J. CUSATIS,
                                    Plaintiff,

         vs.                                                            PLAINTIFF’S RESPONSE TO
                                                                        DEFENDANT’S STATEMENT OF
                                                                        MATERIAL FACTS
CITY OF NIAGARA FALLS,
                     Defendant.                                         19-CV-1536 WMS JJM




         Plaintiff responds as follows to Defendant’s Statement of Material Facts.

BACKGROUND 1

         1.        Defendant City of Niagara Falls (“City”) is a municipality that exists and is

operated pursuant to the laws of the State of New York. (Hickey Aff. at ¶ 2).

Response: Plaintiff does not dispute this statement.

         2.        The City maintains policies against Discrimination and Harassment as well as a

Workplace Violence Prevention Policy. (Hickey Aff. Ex. E; Ex. F). Those policies set forth

complaint procedures for City employees to follow if they witness or are subjected to

discrimination, harassment, or workplace violence. (Hickey Aff. Ex. E, p. 5; Ex. F, p. 4-5).

Response: Plaintiff does not dispute this statement; however, Plaintiff contends that Defendants did not

act in compliance with their polices in her case, as is set forth in detail hereinbelow. See also Exhibit C,

Cusatis Transcript, p. 98, ll. 2-3; Exhibit A, Cusatis Affidavit, and Exhibit 1 to Exhibit A.

Further, Plaintiff contends that she was not provided training on the Defendant’s policies.


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  . Plaintiff neither admits nor denies Defendant’s section headings, which Plaintiff understands to have been
inserted into this document merely as an organizational convention, and not to independently assert facts.
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Exhibit C, p. 96 l 19 – 97 l. 3.

        3.         Plaintiff is a Caucasian female, and she was first hired by the City as a Senior

Services Aide in 1992, working at John Duke Senior Center (“Duke”). (Compl. ¶ 6, 13-14; Cusatis

Dep. 15:13-23).

Response: Plaintiff disputes this statement. She testified she was hired as a recreational

specialist. Exhibit C, p. 15, l. 17.

        4.         In approximately 2008, Plaintiff was transferred from working at Duke to

LaSalle Senior Center (“LaSalle”). (Compl. ¶ 14; Cusatis Dep. 17:6-15).

Response: Plaintiff does not dispute this statement.

        5.         Since 2008, Plaintiff had not been assigned to work at the Duke location.

(Cusatis Dep. 17:6-15; Pulliam Dep. 61:19-20).

Response: Plaintiff disputes this statement. During the time period that Plaintiff’s regular

assignment was to the LaSalle Senior Center, she returned to work at the Duke location for

overtime between five and ten times per year until 2018. Exhibit C, p. 39, l. 19 – p. 41, l. 2; p. 60,

ll. 11-18; p. 224, ll. 1-17.

        6.         While working at LaSalle, Plaintiff’s direct supervisor was Senior Service

Coordinator Rebecca Caso (“Ms. Caso” or “Supervisor Caso”). (Cusatis Dep. 19:13-23-20:1).

Response: Plaintiff does not dispute that Rebecca Caso was her direct supervisor during the

events at issue.

PLAINTIFF’S REPORT REGARDING WRITING ON A BOX

        7.         On or about November 22, 2017, Plaintiff called the City of Niagara Falls Police

to report that she had discovered a box in the maintenance closet at LaSalle which had the letters

“TC” and “NGR LOVE(r)” written on it. (Cusatis Dep. 110:4-16; R. Caso Dep. 20:10-19; Hickey



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Aff. Ex. G).

Response: Plaintiff does not dispute this statement. However, Plaintiff asserts that because her

direct supervisor, Rebecca Caso was not at work that day, she called John Caso about the

writing on the box before calling the police. Ms. Caso was not available, and Ms. Cusatis called

the police and the attorney general while waiting for Mr. Caso to return her call. John Caso

returned her call after Plaintiff had called the police, and he directed her to let him know what

the police said. Exhibit C, p. 112, l. 2 - p. 112, l. 20.

        8.       The City of Niagara Falls Police then came to LaSalle, took a report from

Plaintiff about the incident, and took the box into their custody as evidence. (Cusatis Dep. 112:6-

9; 113:8- 13, 114:2-11; Hickey Aff. Ex. G).

Response: Plaintiff disputes the implicit suggestion in this paragraph that the police came, took

a report and took the box as evidence all in one transaction. As is set forth in detail in Plaintiff’s

deposition transcript, the police officer who initially took her report refused to take the box as

evidence. It was not until Plaintiff called the police back at John Caso’s direction that the police

returned to the LaSalle location and took custody of the box. Plaintiff also asserts that John

Caso refused to call the police himself on her behalf. Exhibit C, p. 113, l. 13- p. 114, l. 11.

        9.       As stated in the Police Report, Plaintiff told the Police that she had not been in

the utility closet for three to four months, and she had “no idea who could have done it.” (Hickey

Aff. Ex. G; see also Cusatis Dep. 119:13-15) (confirming the accuracy of the Police report).

Response: Plaintiff does not dispute this statement.

        10.      Plaintiff also called Ms. Caso to report the incident, who then reported the

incident to her direct supervisor, Deputy Director of Public Works Robert Spacone. (R. Caso

Dep. 20:22- 23-21:1-4, 21:17-22).



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Response: Plaintiff does not dispute this statement accurately reflects Rebecca Caso’s

testimony, but has no independent basis to admit or deny Ms. Caso’s testimony that Ms. Caso

called Mr. Spacone.

           11.        In relation to this incident, Director of Public Works John Caso (“Mr. Caso or

“Director Caso”) and Robert Spacone conducted an investigation to see which employees had

access to the closet where the box was discovered. (J. Caso Dep. 117:15-22; R. Caso Dep. 23:1-

7).

Response: Plaintiff disputes this statement. In response to the question, “And what did you do

in response to this complaint once you became aware of it?” John Caso testified that, “The

police were dispatched out there to take a report.” Exhibit D, J. Caso Transcript, p. 115, l 23 –

p. 114, l. 5. In response to the question, “Did you conduct an investigation into the

discrimination complaint based on race?” Mr. Caso testified, “No.” Id., p. 116, LL 17-20. With

respect to any so-called “investigation, Mr. Caso testified:

                    Well, at that time we did look in to see who had access to that
                    closet, and it was the maintenance guy. And we asked the
                    maintenance guy if he wrote anything, and he said no. And how it
                    became open when nobody was there that day because everybody
                    was gone is beyond me. So there was only one gentleman that had
                    a key to that closet. That’s the extent of that investigation.

                    Id., p. 117 ll. 15-22. Additionally, Ms. Cusatis testified that Ms. Caso informed

                    her that no investigation was conducted. 2 Exhibit C, p. 117, ll 6-9.

           12.        After their investigation, Mr. Caso and Mr. Spacone ultimately concluded

that there was not sufficient information to determine who may have written on the box.

(J. Caso Dep. 117:15-22; R. Caso Dep. 24:12-14; see also Hickey Aff. Ex. G; Cusatis

Dep. 123:6-8 (“I told Becky repeatedly, repeatedly, and Caso that I wasn’t sure who did


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    . Plaintiff submits that this statement is not hearsay, pursuant to FRE 801(d)(2)(D).

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it. I didn’t know anybody.”))

Response: Plaintiff does not dispute this statement, except insofar as is already set forth in

response to ¶ 11.


PLAINTIFF’S REPORTS OF A SENIOR PARTICIPANT’S CONDUCT AT THE LASALLE
SENIOR CENTER

       13.      On December 6 or 7, 2017, Plaintiff reported to Ms. Caso that, on December 6,

2017, she experienced an incident involving a senior participant of LaSalle (the “senior

participant”). (Cusatis Dep. 134:23-135:1-14).

Response: Plaintiff disputes the vague date in this statement, but otherwise does not dispute the

statement. She testified that she notified Rebecca Caso about the incident the day after it

happened, i.e., on December 7, 2017. Exhibit C, p. 135, l. 1.

       14.      Specifically, according to Plaintiff, the senior participant came to LaSalle to

bring her tape to help with decorating a Christmas tree. (Cusatis Dep. 132:13-22). Plaintiff

alleged that, after she finished with the project, Plaintiff engaged in a conversation with the

senior participant and he disclosed that he was having health issues. (Cusatis Dep. 132:23-133:1-

7). Plaintiff alleged that, when they finished their conversation, Plaintiff said goodbye to the

senior participant and gave him a hug. (Cusatis Dep. 133:12-16). According to Plaintiff, the

senior then allegedly grabbed Plaintiff’s breasts, she immediately told him to “get out,” and then

he walked to the door and allegedly stated “I don’t like a n[****]r lover anyway” before exiting

the building. (Cusatis Dep. 131:1-23-134:1-9; Hickey Aff. Ex. G).

Response: Plaintiff disputes the characterization of her testimony. With respect to the tape,

Plaintiff testified that the tape was needed to tape down an extension cord that crossed a




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threshold to prevent seniors from tripping, and that A.P. 3 initially brought blue painter’s tape in

the morning, and then brought duct tape after lunch. Exhibit C, p. 132, ll. 9-21. Regarding

A.P.’s health issues, Plaintiff testified that after A.P. told her “beforehand” that he didn’t feel

well, and she urged him to go to the doctor immediately, and he responded that he was going to

go to the doctor, but he was going to go home and get a sandwich first. Id., p. 132, l.23 – p. 133,

l. 3. Regarding the sexual assault by A.P., she testified that after A.P. brought her the duct tape

she secured the extension cord, and stood up. She then testified:

                  I get halfway to the door, I said okay, take care, blah blah blah,
                  hug hug hug, like I hug twenty, fifteen times a day for all the
                  twenty-five years I worked for the senior center. I’m a hugger, I
                  get twenty - - and when I worked at the Duke you get a hundred,
                  because there was that many more people, but I hugged everybody,
                  and so that was it, bye-bye, and it was like kind of a lean, because,
                  you know, I don’t - - it’s not a personal hug. It’s bye-bye with the
                  shoulders kind of thing, and the next thing I know, he’s grabbing
                  my breasts, full grab, both breasts, pulled them right to the nipple,
                  and then said nice. And I said get out, get out, get out. And I was
                  screaming. And then he walked to the door, and he turned around,
                  there’s a double set of doors, he opened up the door and he turned
                  around backwards to go out the second set of doors, and he said I
                  don’t like a n---r lover anyway. And there’s the basic story.

Id., p. 133, l. 12 – 134, l. 9. See also, Exhibit A ¶¶ 11-15 for Ms. Cusatis’ explanation that

A.P.’s tone when he said “nice” was lewd and extremely offensive.

         15.       After receiving Plaintiff’s report, Ms. Caso went to Lasalle to speak with

Plaintiff further. (R. Caso Dep. 27:5-23; Cusatis Dep. 135:1-16).

Response: Plaintiff disputes this statement. She did not describe the sexual assault to Ms. Caso

over the telephone. Plaintiff testified that she told Ms. Caso that she needed to talk to her in

person, that Ms. Caso initially offered to come to the LaSalle Center at about 2 p.m., and that



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 . Plaintiff refers throughout her papers to the individual who sexually assaulted and stalked her by his initials,
“A.P.,” rather than imitating Defendants’ convention of “senior participant.”

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Ms. Caso arrived at LaSalle “noon-ish.” Exhibit C, Cusatis Transcript, p. 135, ll. 3-19.

        16.      Plaintiff also called the police to report the incident, who also went to Lasalle to

take a report of the incident. (Cusatis Dep. 135:22-23-136:1-13; R. Caso Dep. 32:17-21, Hickey

Aff. Ex. G).

Response: Plaintiff does not dispute this statement.

        17.      Plaintiff and Ms. Caso subsequently went to John Caso’s office to report the

incident, where Plaintiff submitted a written report of what happened with the senior participant,

and the incident was also reported to Human Resources. (Cusatis Dep. 137:8-23-138:1-3; R. Caso

Dep. 29:6-20; Pulliam Dep. 56:2-21).

Response: Plaintiff does not dispute that she testified that went to John Caso’s office later in the

day of December 7, 2017 and submitted a written report, however she testified that she went

alone. Plaintiff testified:

                I got permission to leave at two . . . and I went down to [John]
                Caso’s office and then they gave me a sheet of paper . . . it said
                incident report. . . . I did call the girl out on it, . . . I said this isn’t
                what I’m supposed to fill out, and she said that’s what Caso told
                me to give you. . . So I filled out that report.

Exhibit C, p. 137, l. 8 – p. 138, l. 1. However, Plaintiff repeatedly expressed uncertainty about

the date on which she filled out a report in Mr. Caso’s office. See, Id., p. 138, ll. 6, 13, 15, 22-

23, p 139, l. 8. Plaintiff also testified that she “was told that the [report] would be forwarded to

[HR]. Id., p. 139, ll. 1-4. Upon further reflection, Plaintiff has clarified in her affidavit that she

and Ms. Caso met with Mr. Caso on the afternoon of December 7, 2017, and that Plaintiff

returned to Mr. Caso’s office the following day to fill out the report, as is set forth in her

transcript quotation above. Exhibit A, ¶¶ 20-28.

        18.      After consulting with Human Resources about the incident involving the senior



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participant and Plaintiff, the decision was made to ban the participant from LaSalle, and John Caso

called the participant to inform him that he was banned from LaSalle and that he would be

receiving a formal letter confirming this ban. (J. Caso Dep. 86:5-17; R. Caso Dep. 33:9-15;

Pulliam Dep. 57:2-15).

Response: Plaintiff does not dispute this statement accurately reflects the testimony of John and

Rebecca Caso that Mr. Caso notified A.P. by telephone that he was banned from the LaSalle

facility, and that a letter would be sent to him. However, both John Caso and Rebecca Caso

testified that the call notifying A.P. that he was banned from the premises was made on

December 7, 2017. Plaintiff was not informed of the telephone call, nor did she learn that a

letter had been sent to A.P. until the letter was actually sent on or about December 14, 2017.

Exhibit A, ¶¶ 29-30.

        19.      Such letter in fact was sent to the participant on or about December 14, 2017,

after review by the City’s legal counsel. (J. Caso Dep. 87:7-10; Cusatis Dep. 150:11-17; Hickey

Aff. Ex. I).

Response: Plaintiff has no basis upon which to affirm or dispute this statement, as is set forth in

her response to ¶ 18, above.

        20.      In that letter, the senior participant was advised that, if he attempted to enter the

LaSalle premises, “the Niagara Falls Police Department [would] be called to remove [him]….”

(Hickey Aff. Ex. I).

Response: Plaintiff does not dispute that the letter contains the phrase quoted above, but asserts

that the letter speaks for itself. Exhibit K.

        21.      Plaintiff reported to Ms. Caso that, on December 11, 2017, before the letter had

been sent banning him from LaSalle, the senior participant arrived at LaSalle for a senior citizen



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luncheon, and Plaintiff “kicked him out.” (R. Caso Dep. 43:4-19; Cusatis Dep. 142:18-23-143:1-

3).

Response: Plaintiff does not dispute this statement.

         22.      Ms. Caso told Plaintiff to call the police, and that she would be reporting the

incident to the department of public works. (R. Caso Dep. 43:16-23).

Response: Plaintiff disputes this statement. Plaintiff testified that she telephoned Ms. Caso after

the fact, and informed Ms. Caso that she had “kicked him out,” although Plaintiff lacked the

authority to do so, and that Ms. Caso responded, “That was fine.” Exhibit C, p. 142, l. 18 – p.

143, l. 5.

         23.      According to Plaintiff’s personal notes, Plaintiff did not report the senior

participant’s attendance at the December 11, 2017 luncheon to the police. (See Hickey Aff. Ex. U,

p. 5).

Response: Plaintiff disputes that the cited exhibit supports the factual allegation in this

paragraph. Plaintiff does not dispute that she did not file a police report concerning the

December 11, 2017 incident to the police. She asserts that she did not do so because her job was

to provide services to seniors, not to report them to the police. She also asserts that she was

waiting for Defendants to take formal action to protect her. Exhibit A, ¶¶ 36-37.

         24.      In relation to the initial December 6, 2017 incident with the senior participant,

Plaintiff was asked by the police if she wanted to press charges against the participant. (Cusatis

Dep. 155:8-10).

Response: Plaintiff does not dispute this statement.

         25.      After several follow-up calls from the police, Plaintiff ultimately decided,

several weeks after the incident, that she did not want to press charges against the senior



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participant or have him arrested at that time and wanted the case closed. (Cusatis Dep. 160:5-16;

Hickey Aff. Ex. J, Ex. K).

Response: Plaintiff disputes this statement. The report cited in support of this paragraph

describes two contacts by Detective Bosi. Detective Bosi’s reports were submitted by Defendant

as Items Nos. 35-11 and 35-12. Consistently with those reports, Plaintiff did not testify that she

wanted the case closed, rather that she did not want to have A.P. arrested. She testified:

                I remember him calling me two to three times, apparently just
                twice according him so far, and I remember whatever my wording
                was, saying that I did not want him arrested, so I can’t agree the
                wording , but the concept I do agree with.

Exhibit C, p. 160, ll. 7-10; see also p. 155, ll. 20-22.

        26.         On or about January 2, 2018, the participant contacted John Caso and Rebecca

Caso to discuss the December 6, 2017 incident, to which Ms. Caso informed the senior

participant that regardless of any explanation that the participant provided, he was still banned

from LaSalle. (R. Caso Dep. 49:9-23-50:1-12).

Response: Plaintiff does not dispute this statement accurately reflects Ms. Caso’s testimony.

        27.         Months later, Plaintiff reported to Ms. Caso that, on June 15, 2018, the

participant called Plaintiff’s personal cell phone twice while she was at work. (R. Caso Dep.

62:3-11).

Response: Plaintiff disputes this statement. She testified that she reported A.P.’s calls when

they happened “to Becky” [Rebecca Caso]. Exhibit C, p. 180, ll. 16-20 (emphasis added).

Further, Ms. Caso testified that she was aware that ”there were continuous phone calls made to

M[s.] Cusatis on her office phone” from December 2017 until June of 2018. Exhibit E, p. 50, l.

17 – p. 51, l. 3.

        28.         In response to Plaintiff’s report, Ms. Caso told Plaintiff that no participants


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should have her personal cell phone number, and she worked with Plaintiff to attempt to block

the participant’s number from Plaintiff’s phone. (R. Caso Dep. 62:13:20).

Response: Plaintiff does not dispute this statement.

       29.      Ms. Caso further told Plaintiff that she needed to contact the police regarding

this incident. Ms. Caso told Plaintiff that she had no ability to prevent the senior participant from

calling her on the phone. (R. Caso Dep. 65:6-13).

Response: Plaintiff does not dispute this statement, although Plaintiff disputes the notion that

Ms. Caso had no ability to prevent A.P. from calling Plaintiff on the phone. Plaintiff knew,

because Ms. Caso had told her, that two people had been banned from both senior centers for

inappropriate conduct in the past. Plaintiff also knew that when A.P. threatened to go to City

Hall in 2019, Ms. Caso contacted John Caso, who contacted the police, and ordered that A.P. be

arrested if he appeared at City Hall. See, e.g., Exhibit C, p. 210, ll. 3-6.

       30.      According to Plaintiff, in July 2018, she listened to two voicemail messages that

had been left on the LaSalle voicemail system in which an individual she believed to be the senior

participant said “mud shark.” (Cusatis Dep. 165:2-6). After listening to the messages, Plaintiff

looked up the meaning of that term on the internet, as she did not know what it meant, and found

that it allegedly refers to a “white woman [who] engages in sexual activities with a black African

American male.” (Cusatis Dep. 166:7-11). Plaintiff believes the senior participant left this

message “[b]ecause he’s prejudiced and he saw Joe Paulk in my office a couple times.” (Cusatis

Dep. 166:12-14).

Response: Plaintiff does not dispute these statements, insofar as they go, however, Plaintiff also

testified that she recognized A.P.’s voice. Exhibit C, p. 165, ll. 7-11.

       31.      Prior to those voicemail messages, Plaintiff recalls receiving two other voicemail



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messages from the Senior Participant on the LaSalle voicemail system. (Cusatis Dep. 166:22-23-

167:1-7). One message was the senior participant apologizing to Plaintiff, and the other message

was mistakenly left on the LaSalle voicemail system, as it pertained to the senior participant

cancelling lunch at the Duke Senior Center. (Cusatis Dep. 167:17-23).

Response: Plaintiff does not dispute this statement.

        32.      In total, from December 2017 through June of 2018, Plaintiff reported to Ms.

Caso six to eight phone calls or voicemail messages from someone she believed to be the senior

participant. (R. Caso Dep. 50:13-23-60:1-3; Cusatis Dep. 153:6-9; 180:7-11). Plaintiff did not

answer the calls to her cell phone and did not speak to the senior participant during this time period.

(Cusatis Dep. 193:3-14).

Response: Plaintiff does not dispute this statement, and notes that it contradicts the assertion in

¶ 27 that Plaintiff did not report A.P.’s calls between December 2017 and June 2018.

        33.      In response to Plaintiff’s report of each of these phone calls, Ms. Caso advised

Plaintiff to call the police. (R. Caso Dep. 51:6-9; Cusatis Dep. 170:8-13).

Response: Plaintiff does not dispute this statement.

        34.      On July 5, 2018, Plaintiff reported to Ms. Caso that the participant approached

Plaintiff while she was going to her vehicle parked on the LaSalle Premises. (R. Caso Dep.

60:14:21).

Response: Plaintiff does not dispute this statement.

        35.      Ms. Caso told Plaintiff to go back inside the building, lock the door, and to

report it to the police. (R. Caso Dep. 61:5-14).

Response: Plaintiff disputes this statement. She telephoned Ms. Caso from inside the building

after Plaintiff fled the parking lot. Ms. Caso testified:



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                I told her to leave the building earlier than necessary and to keep
                the door locked while she was in the building, to please report it to
                the police under whatever she was reporting it with, the case, and I
                reported it to the deputy director of public works.

Exhibit E, p. 61, ll. 9-161, ll. 9-14.

        36.      Plaintiff subsequently called the police, who went to LaSalle to take a report of

the incident. (Cusatis Dep. 169:1-16; Hickey Aff. Ex. L).

Response: Plaintiff does not dispute that she called the police after the incident referenced in ¶

34, nor does she dispute that the police went to the LaSalle facility and took a report.

        37.      This was the first time Plaintiff filed a report with the police since the December

6, 2017 incident. (Cusatis Dep. 180:1-15).

Response: Plaintiff disputes that the July 5, 2018 report was the “first time” she reported to the

police after the December 6, 2017incident. this statement. She testified that on June 15, 2018,

when A.P. telephoned her at work, she left work early, and first went to confer with a lawyer,

then, following the lawyer’s recommendation went to the police department and “started the

process of trying to have him arrested.” Exhibit C, p. 172, l.3 – p. 173, l.12; p. 177, ll. 19-21.

        38.      Indeed, although Ms. Caso had advised her to contact the police each time

Plaintiff raised a concern related to the senior participant contacting her, Plaintiff did not report

the senior participant’s conduct to the police at any time between December 7, 2017 (see Hickey

Aff. Ex. H) and July 5, 2018 (see Hickey Aff. Ex. L; Cusatis Dep. 180:1-15).

Response: Plaintiff disputes this statement. She spoke to Detective Bosi on December 11, 2017

and January 9, 2018, as is reflected in Detective Bosi’s records. Items 35-11, 35-12. She also

reported A.P.’s continued stalking of her to the police on June 15, 2018, as is set forth in

response to ¶ 37, above.

        39.      In July of 2018, Plaintiff reported to Ms. Caso approximately four instances


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where the participant allegedly entered the LaSalle parking lot at least four times during the

course of that month. (R. Caso Dep. 65:15-23).

Response: Plaintiff does not dispute this statement.

        40.      Each time Plaintiff reported these incidents, Ms. Caso told Plaintiff to call the

police. (R. Caso Dep. 65:15:23-66:1-8).

Response: Plaintiff does not dispute this statement.

        41.      Ms. Caso did not call the police herself, because it was her understanding that

since Plaintiff was the complainant, the police would not speak with her about the incidents. (R.

Caso Dep. 66:12-15).

Response: Plaintiff does not dispute that this statement accurately reports Ms. Caso’s testimony.

Plaintiff disputes Ms. Caso’s understanding of the situation. Ms. Caso’s job duties included

regular contact with the Niagara Falls Police Department, and she contacted promptly when

A.P. telephoned her and threatened to go to city Hall to complain. Exhibit C, p. 176, l. 1 – 177,

l. 5; p. 207, ll. 2-10; p. 209, l. 22 – p. 210, l. 7. Moreover, as is set forth in response to ¶ 29,

above, Ms. Caso reported to the police in July 2019.

        42.      On July 27, 2018, Plaintiff reported to Ms. Caso that, on July 26, 2018, the

senior participant approached a different female individual at Lasalle, yelled “Fuck you,

Theresa”, and made a rude hand gesture. (R. Caso Dep. 67:11-18; Cusatis Dep. 191:12-21).

Response: Plaintiff does not dispute this statement.

        43.      Plaintiff reported this incident to the police on July 26, 2018. (Hickey Aff. Ex.

M).

Plaintiff does not dispute this statement. However, Plaintiff notes that the victim of the July 26,

2018 incident also called the police about the incident. Exhibit C, p. 199, ll. 2-14; see also



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Exhibit B, Broeker Affidavit, ¶ 39.

        44.      Plaintiff did not witness this event, but rather was informed by the mother of the

female individual who was allegedly approached by the senior participant. (Hickey Aff. Ex. T, p.

49-50). The mother is an employee at LaSalle. Id.

Response: Plaintiff does not dispute this statement.

        45.      Plaintiff reported to Ms. Caso that, on August 3, 2018, Plaintiff found a print-out

of an email chain in her desk at work. Plaintiff reported that it contained pictures of scantily clad

women, and she believed that it had been placed there by the senior participant. (Cusatis Dep.

193:15-23-194:1-14, 197:6-22; Hickey Aff. Ex. N).

Response: Plaintiff does not dispute this statement.

        46.      Ms. Caso told Plaintiff to lock the door and that she was coming to LaSalle. (R.

Caso Dep. 68:12-23-69:1-4).

Response: Plaintiff disputes this statement. Ms. Caso told Plaintiff to call the police, but did not

tell Plaintiff that Ms. Caso was coming to LaSalle. Exhibit C, p. 197, ll. 3-5; Exhibit A, ¶¶ 56-

59.

        47.      When Ms. Caso arrived at LaSalle, Plaintiff showed her the e-mail chain, and

Ms. Caso called the police, who subsequently came to the facility to investigate the incident. (R. Caso

Dep. 69:5-23).

Response: Plaintiff disputes this statement. Plaintiff telephoned the police at Ms. Caso’s

direction. Exhibit C, p. 198, l. 21 – p. 199, l. 21. Ms. Caso was not present at LaSalle when the

police arrived. Ms. Caso informed Plaintiff that she (Ms. Caso) had spoken to a detective who

instructed her to put the document into a plastic bag, which Plaintiff did. Exhibit A, ¶¶ 58-59.

        48.      The police ultimately declined to take a report, because there was insufficient

evidence to conclude that the senior participant was the one to put the papers there. (Cusatis Dep.

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199:5-15; R. Caso Dep. 70:4-11).

Response: Plaintiff does not dispute that the police refused to take a report or the print-out of

the email, however Plaintiff disputes the reason for the refusal proffered by Defendant. Plaintiff

testified that the officer first told her “that it was because [she] refused to have him arrested in

the beginning,” and then told her “they weren’t taking any more reports because it was all the

same claim, and because it was [her] fault that [she] would not have him arrested.” Exhibit C,

pp. 199, l. 10 – p. 200, l. 3.

        49.      As a result of the senior participant’s alleged conduct in July 2018, Plaintiff

pursued criminal charges against the senior participant. (Cusatis Dep. 190:2-14).

Response: Plaintiff disputes this statement. She first pursued criminal charges against A.P.

based upon his assault in December 2017, and his harassment between that date and

July/August of 2018. See Items 35-13, pp. 2-4, 35-14, p. 2, 35-16, pp. 2-10.

        50.      Plaintiff signed a declaration in support of the warrant application seeking the

senior participant’s arrest. (Hickey Aff. Ex. O, p. 3).

Response: Plaintiff does not dispute this statement.

        51.      On December 14, 2018, the senior participant was arrested and charged with

Forcible Touching based on the December 6, 2017 incident. (Hickey Aff. Ex. Q).

Response: Plaintiff does not dispute this statement. Plaintiff notes, however, that the original

warrant had expired, and that she had sought a new warrant between July of 2018 and

December 14, 2018. Exhibit A, ¶¶ 79-80.

        52.      That same day, on December 14, 2018, Honorable James J. Faso, Jr. issued a

Temporary Order of Protection for Plaintiff against the senior participant, until December 14,

2019. (Compl. ¶ 77; Hickey Aff. Ex. P).



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Response: Plaintiff does not dispute this statement.

       53.      The participant was arrested a second time on February 27, 2019, because he

either came onto LaSalle premises or called the Plaintiff. (Cusatis Dep. 222:2-8).

Response: Plaintiff does not dispute this statement.

       54.      On November 5, 2019, the participant went to LaSalle when Plaintiff was

present, and the police subsequently arrived to arrest Plaintiff a third time for breaking a

permanent Order of Protection against him, which had been in place from July 18, 2019 until July

18, 2021. (Compl.115, see Hickey Aff. Ex. R).

Response: Plaintiff does not dispute this statement.

PLAINTIFF’S OTHER WORK ISSUES

       55.       In December of 2017, Ms. Caso informed Plaintiff that Plaintiff needed to start

signing her time sheets, as other City employees do. (Cusatis Dep. 57:16-23-59:1-8).

Response: Plaintiff does not dispute this statement.

       56.      This directive from Ms. Caso was in relation to a policy which had been in place

for years that was implemented by John Caso. (See id.)

Response: Plaintiff does not dispute that John Caso had implemented a policy as described.

However, Plaintiff testified that the policy as described

               [L]asted a total of about three weeks. Becky drove out there and
               it’s maybe four and a half to five miles from the Duke, between the
               Duke and LaSalle, three weeks. On the third week she said that
               she didn’t want to do that anymore, she didn’t want to be bothered,
               those were her words. She didn’t want to be bothered driving out
               there, would I mind if she just signed my time sheet, you know,
               after I tell her my time, she can just submit my time for her, and of
               course I said yes, because this is your boss asking you to do that
               and you’re the one that has to do the driving, not me. So I said
               yes. So that was several years ago, so I didn’t sign a time sheet for
               several years, and out of the clear blue sky, Theresa, you’re gonna
               have to start, your gonna have to sign your time sheets, so I did


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                question that.

Exhibit C, p. 59, l. 8 – p, 60, l. 2.

        57.       Due to restrictions with the City’s budget, starting in 2010 or earlier, there was

reduction in senior programming in the evenings, which led to a reduction in overtime

opportunities at either the Duke or LaSalle senior center. (Pulliam Decl. ¶¶ 2-3).

Response: Plaintiff does not dispute that this statement accurately reflects Ms. Pulliam’s

declaration. However, Plaintiff testified that she worked overtime at the Duke Senior Facility

many times after Ms. Caso was hired on a permanent basis. Exhibit C, p. 39, l. 15 - p. 40, l. 22.

Plaintiff testified that Ms. Caso informed A.P. that he could vote at the LaSalle Senior Center

because “Theresa doesn’t vote there.” Id., p. 223, Ill 18-23. Because A.P. would be voting at

the LaSalle Senior Center, Plaintiff was forced to decline overtime opportunities on election day

each year. Id., p. 224, ll. 10-19. Plaintiff also testified that she stopped being allowed to work

overtime at the Duke Senior Center in 2018 and 2019. Id., p. 60, ll. 11-21.

        58.       In December of 2009, Plaintiff filed a grievance through her labor union stating

that there was an “unfair distribution of overtime.” (Pulliam Decl. ¶ 5, Ex. 1.) This grievance was

denied. (Pulliam Decl. ¶ 6.)

Response: Plaintiff does not dispute these statements.

        59.       The City sent Plaintiff a W-2 in 2017 and 2018 pursuant to applicable law and

per City protocol, and Plaintiff received her W-2 for both 2017 and 2018. (R. Caso Dep. 89:14-

13- 90:1-12, 94:21-23-95:1-13; Cusatis Dep. 64:1-2; Hickey Aff. Ex. U, p. 1).

Response: Plaintiff disputes this statement. Both Plaintiff and Rebecca Caso testified that the

W-2 for 2017 was “left” at Plaintiff’s office by another low-ranking employee. Exhibit C, p. 63,

ll. 13-16; Exhibit E, p. 90, ll. 1-2. Plaintiff received her 2017 W-2 in February 2018, Exhibit C,



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p. 64, ll. 1-2.

        60.       In or about 2017 or 2018, Plaintiff reported to Ms. Caso that there was an issue

related to Parks Department employees failing to clear ice and snow buildup at LaSalle, expressing

concern that it was causing a safety issue for employees and participants. (R. Caso Dep. 91:7-21;

Cusatis Dep. 70:17-23-71:1-8).

Response: Plaintiff does not dispute this statement. However, Plaintiff asserts that the snow was

not properly cleared from the LaSalle site from the winter of 2017-2018 through December of

2020, when Plaintiff’s employment was terminated. Exhibit A, ¶¶ 81-83.

        61.       To address the issue, Ms. Caso reported it to the deputy director of public works,

went to evaluate the ice and snow herself, and contacted the appropriate City department to fix it.

(R. Caso Dep. 92:1-9).

Response: Plaintiff does not dispute that this statement accurately reflects Ms. Caso’s testimony.

Plaintiff testified that there was a problem with ice and snow removal at the LaSalle facility for

the first time during the winter of 2017-2018, and that “Sometimes they would and sometimes

they wouldn’t” clear the snow. Exhibit C, p. 70, l. 17 – p, 71, l. 18.,

        62.       Plaintiff reported to Ms. Caso that in July 2018, employees in the Parks

Department failed to pick up trash from LaSalle for several weeks. (R. Caso Dep. 92:6-13;

Cusatis Dep. 72:8- 16).

Response: Plaintiff does not dispute this statement, and asserts that the trash was sometimes not

picked up for more than a week at a time. Exhibit C, p. 72, l. 8 – p. 73, l. 11.

        63.       To address this issue, Ms. Caso called the department of public works, made a

work order herself, inquired about prior work orders which had been put in place, and reported to

the deputy director of public works that the supervisor of the garbage crew was not handling



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trash pickup appropriately. (R. Caso Dep. 92:16-23).

Response: Plaintiff does not dispute that this statement accurately reflects Ms. Caso’s testimony.

However, Plaintiff testified that “I was consistently forced to call in, because they [parks

employees] weren’t doing their jobs.” Exhibit C, p. 73, ll. 9-12. She also testified that,

“Sometimes it would take a week for them to come out [to pick up garbage] after a work order

was placed.” Id., -. 72, ll. 18-19. She also testified, with respect to putting in work orders to get

the garbage picked up:

                 I kept getting threatened, if I keep it up you’re not gonna have a
                 job much longer, I hope they don’t close the building over this,
                 constant threats of my livelihood being taken away for trying to
                 protect my job, protect the seniors, and protect the building.

Id., p. 73, l 22 – p. 74, l. 5.

         64.      Plaintiff also reported an issue with a copying machine at LaSalle to Ms. Caso.

(R. Caso Dep. 93:1-18).

Response: Plaintiff does not dispute this statement. However, she testified that the original

problem with the copy machine was that it took eight weeks to replace a non-functional machine.

Exhibit C, p. 78, ll. 2-14.

         65.      Ms. Caso subsequently went to LaSalle to investigate the issue, where she

noticed that the copying machine was simply unplugged, plugged it in, and ran a copy to ensure

that the machine in fact was working. (R. Caso Dep. 94:2-9).

Response: Plaintiff does not dispute that after a replacement copying machine was delivered to

the LaSalle Senior Center, she (Plaintiff) was not trained on the machine, and ultimately that Ms.

Caso came to the LaSalle Senior Center and realized that the new replacement copy machine

that Plaintiff was not trained to use was not plugged in. Exhibit C, p. 78, ll. 16-23; Exhibit A, ¶¶

84-90.


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       66.      In September of 2019, Time Warner Cable was doing line work at LaSalle, and

disconnected a phone line at LaSalle in relation to that work. (R. Caso Dep. 97:10-20).

Response: Plaintiff does not dispute that this statement accurately reflects Rebecca Caso’s

testimony. Plaintiff testified that there were two phone lines at the LaSalle Senior Center, one of

which was dedicated to the County nutrition program, and one of which was for the City Senior

Services program. One day when she arrived at work, Plaintiff discovered that the County line

was not working. After calling in several work orders, Plaintiff learned that the City had

disconnected the line. It was reinstated after approximately a month. Exhibit C, p. 54, l. 23 – p.

55, l. 20. See also, Exhibit A, ¶¶ 92-97.

       67.      In or about August 2019, Ms. Caso was informed that employees had not

received an official form to buy back vacation time. Ms. Caso brought the issue to the attention

of Ms. Pulliam, and Ms. Caso ensured that all employees in her department who were eligible for

vacation buy back received an extension to fill the form out. (R. Caso Dep. 95:14-23-96:1-7).

Response: Plaintiff does not dispute that this statement accurately reflects Rebecca Caso’s

testimony. Plaintiff is unaware of whether Ms. Caso or the other employee besides Plaintiff

whom Ms. Caso supervised received their forms in a timely fashion. At the time, she believed the

failure to provide her form in a timely fashion was retaliation for Plaintiff’s complaints of

discrimination. Plaintiff testified that she lost an opportunity to buy back her vacation in 2019.

Exhibit C, p. 86, ll. 7-10; Exhibit A ¶¶ 98-100.

PLAINTIFF’S EEOC CHARGE

       68.      On or about October 5, 2018, Plaintiff dual-filed a charge with the New York

State Division of Human Rights and the Equal Employment Opportunity Commission, alleging

sex discrimination and retaliation. (Cusatis Dep. 243:21-23-244:1-15; Hickey Aff. Ex. S).



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Response: Plaintiff does not dispute this statement.

       69.      Plaintiff did not allege race discrimination in this charge. (See id.)

Response: Plaintiff disputes this statement. Although Plaintiff did not check the box for “race”

on the first page of the Charge, Item 35-20, pp. 2, her narrative statement of the particulars of

her Charge includes No. 7: an allegation that A.P. also directed a racial slur at her; and Nos.

12 and 13: an allegation that A.P. left voice messages for her on the office phone that included a

racially offensive epithet. Item 35-20, pp. 2, 4-5

       70.      Plaintiff’s charge was dismissed by the EEOC. (Compl. ¶ 12).

Response: Plaintiff does not dispute this statement.


Dated: February 17, 2023
       Buffalo, New York


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